                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

UNITED STATES OF AMERICA,                             )
                                                      )       Case No. 3:97CR294-20
v.                                                    )       (Financial Litigation Unit)
                                                      )
JEFFREY M. GULLER                                     )

                                              ORDER

       Having considered the United States' Status Report and Request for Further Court Order, this

Court finds that all funds referenced herein, in the amount of $1,131.34, plus all interest earned on

the funds, should be applied to restitution and distributed to victims as set forth in the Judgment in

a Criminal Case entered against the defendant on June 22, 1999.

       It is therefore ORDERED, ADJUDGED, and DECREED that:

       1.      The Clerk of Court, as soon as the business of this office allows, will distribute all

funds on deposit with the Clerk, including funds in the amount of $1,131.34 and any interest earned

on such funds, to pay restitution to victims as set forth in the Judgment in a Criminal Case against

Defendant.

       2.      The United States will serve a copy of this Order upon the Financial Deputy Clerk

in the Western District of North Carolina.

                                                  Signed: April 8, 2011




     Case 3:97-cr-00294-MOC-SCR              Document 545       Filed 04/08/11      Page 1 of 1
